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                              IN THE UNITED STATES DISTRICT
                                COURTFOR THE DISTRICT OF
                                        COLUMBIA

                                                 )
  UNITED STATES OF AMERICA,                      )
                                                 ) Criminal No. 1:22-cr-00015-APM
                         v.                      )
                                                 )
  ELMER STUART RHODES, KELLY                     )
  MEGGS, JESSICA WATKINS                         )
                                                 )
                   Defendants                    )
                                                 )


       DEFENDANTS JOINT OPPOSITION TO MOTION IN LIMINE (ECF 252)
         REGARDING EXPERTS AND ANTICIPATED TRIAL EVIDENCE

       Defendants, Elmer Stuart Rhodes, Kelly Meggs, Jessica Watkins, jointly, by and through

the undersigned counsel, and pursuant to this court’s Pretrial Order, dated May 12, 2022, (ECF

133), hereby files this Opposition Memorandum to the Government’s Motion in Limine, ECF

252 to bar Defendants’ experts.

       ECF 252 seeks to bar the defendants from submitting evidence during trial, and asks,

“WHEREFORE, the United States respectfully moves this Court to preclude any expert

testimony by the defense at the trial scheduled to begin on September 26, 2022.” In making this

broad motion to include such a prejudicial outcome, Defendants submit the following for this

court’s consideration.

       In ECF 252, the government argues that the Court Should Preclude any Defense experts

and cites to the following:

               In cases where a party has failed to comply with the discovery rules, the
       D.C. Circuit, citing Supreme Court precedent, has held that “the exclusion of
       evidence and testimony can be a proper sanction, even against a criminal
       defendant.” Day, 524 F.3d at 1372. Such a sanction may be appropriate, even if
       the defense counsel has not acted in bad faith. Id.; United States v. Johnson, 970
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       F.2d 907, 911 (D.C. Cir. 1992). In determining whether the appropriate sanction
       for an expert notice violation is exclusion, courts have noted that the time period
       for trial preparation is a relevant factor. “The interest of a fair and efficient
       administration of justice counsels against opting to delay the trial due to the
       defendant’s failure to abide by the rules designed to facilitate a fair exchange of
       relevant materials.” Gray-Burriss, 2012 WL 5193679, *1.

(See ECF 252 at p. 4).

       This is an unnecessary and broad argument. First, in Day, the court precluded experts in

a criminal action, not because of delays, but because, as the court therein explained, the predicate

for the remaining experts was the earlier experts’ opinions, which got barred under a FRE 702

Daubert analysis: “…-- the District Court concluded that the experts' testimony had to be

excluded under FRE 702 and Daubert.” United States v. Day, 524 F.3d 1361, 1370, 381 U.S.

App. D.C. 48, 57, (D.C. Cir. 2008). The other expert witness barred in that case also faced

Daubert challenges, and the court explained: ‘Rule 16 governs discovery and disclosure in

criminal proceedings, and states in relevant part that if "the defendant has given notice under

[Federal Rule of Criminal Procedure] 12.2(b) of an intent to present expert testimony on the

defendant's mental condition," FED. R. CRIM. P. 16(b)(1)(C)(ii), then the defendant also "must,

at the government's request, give to the government a written summary of any testimony that the

defendant intends to use under Rules 702, 703, or 705 of the Federal Rules of Evidence as

evidence at trial." FED. R. CRIM. P. 16(b)(1)(C). This summary "must describe the witness's

opinions, the bases and reasons for those opinions, and the witness's qualifications." Id. at 1370-

1371. The court also made clear that the government only received the expert’s opinion on the

mental status of the defendant at the Daubert hearing itself. Id. at 1371. (“It was only during the

Government's cross-examination on March 24, 2005 that Dr. Spodak finally offered a diagnosis

of appellant's mental condition. Hearing Tr. (3/24/05) at 16-17, 53. The District Court granted

the Government's motion to exclude Dr. Spodak's testimony on March 25, 2005, primarily as a
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sanction for violating Rule 16.”)

       The Day court concluded that, “[i]n this case, unlike the circumstances under review in

Johnson, the District Court did not believe that Day's counsel had acted in good faith.” Id. at

1372. (In Johnson, the court found that ‘[t]he new witnesses were Johnson's brother and friend,

and he had at least five months to produce them - from indictment in October 1990 to the start of

the second trial in March 1991. The only explanation offered below was defendant's vague

assertion of "difficulty in trying to reach these people", which does not even assert that Johnson

was unaware of their evidence, much less explain any delay in his learning of any truthful alibi

they might have offered.’ United States v. Johnson, 970 F.2d 907, 912, 297 U.S. App. D.C. 278

(D.C. Cir. 1992). Similarly the government cites to United States v. Gray-Burriss, but the court

explained therein that “the defense has filed no response at all to the government's motion. It has

chosen to neither explain its actions nor oppose the government's request for relief. Whether its

failure to comply with Rule 16(b)(1)(C) is willful or not is unknown, but the government's

motion is deemed conceded in light of the defense's failure to respond to it. LCrR 47(b).” United

States v. Gray-Burriss, 2012 U.S. Dist. LEXIS 150487, *4, 2012 WL 5193679

       The government is not seeking to bar defense experts because of Daubert, or on

inexcusable or non-existent submissions, or on bad faith, but on the fact that additional reports

were not produced with the designations made on July 22, 2022, and separately with regard to

because the constitutional expert has to be replaced, due to his now unavailability.

       As a practical matter, Counsel for Mr. Rhodes designated Mr. Ingram for the five

defendants as a forensics expert on July 22, 2022, and stated a genuine proffer:

               “…he will be prepared to testify as an expert as to how the digital download
       and analysis procedure works in regarding electronic devices as well as how texting
       apps and Signal chats, etc. work, he will be able to testify as a lay witness as to
       specific evidence found on the individual device downloads. In addition to
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        testifying as an expert on how the digital extraction process works regarding
        electronic devices, he is also qualified to testify as to how cell phone towers work
        regarding call capacity/call handoffs between towers and geo-location of phones.

(Ex. A, Defendants’ Expert Designation of July 22, 2022, sent to the government).

        Furthermore, when each defendant in the case at bar requested a continuance, and each

defendant who is detained agreed to waive their speedy trial rights to do so, Meggs’ counsel let

the government know that we are working to update the designations, as the government notes in

its filing. (ECF 252 at p.3). 1

        As a practical matter, at this time, in addressing Mr. Meggs’ phone, Mr. Ingram has

reported to counsel that he is downloading Mr. Meggs’ zip file, which he has represented will

take him 70 hours to “unzip.” The sheer volume of electronic information the government

produced, which the government chose to do, rather than providing the defendants with the

actual cell phones, is causing the defendants to be delayed in supplementing this designation

with a further report.

        As for the other expert designated, counsel for Mr. Rhodes, has been updating the

government in good faith regarding the reservation made in the Defendants’ designation

produced by counsel for Mr. Rhodes to the government on July 22, 2022. Counsel designated a

witness expert for defendants, and set forth that the expert

        “will be prepared to testify either directly or in rebuttal about the Constitution and
        its application regarding the election process, more specifically the application of
        the 20th Amendment regarding the transfer of power. In addition, he will be
        prepared to testify about the Insurrection Act. More specifically when and how it
        can be enacted and by whom and how the Insurrection Act applies to a militia.”


1
 Meggs’ counsel, Mr. Woodward and Ms. Haller, in addition to only appearing in this action in
or about May, 18, 2022, when the court granted conditional substitution, (Ms. Haller filed her
Appearance on or about June 24, 2022 believing that the conflict review had concluded), and
only in or about this week, Mr. Woodward made progress on having that other January 6th case
continued.
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(Ex. A. Defendants’ Expert Designation of July 22, 2022).

       Therein, counsel further stated that, “[i]n the event Ilya Shapiro is unable to testify, the

defense teams reserves it’s right to call another qualified expert on the same above listed

subjects and will notify the attorneys for the government as soon as practicable.”

       Counsel for Mr. Rhodes immediately notified the government that the constitutional law

expert initially named, and anticipated, is now unavailable, in an effort to keep the government

updated. Defense counsel is seeking another constitutional expert to be prepared to address what

the government seeks to submit regarding the Insurrection Act, the ECA, the 12th and 20th

Amendments, most likely only needed in rebuttal.

       The court always has the discretion to sustain objections to an expert witness, however,

how the government proceeds with this broad brushstroke lacks legal support and is highly

prejudicial to the Defendants. There is no prejudice to the government at this time because

primarily rebuttal expert testimony is not the same as submitting scientific reports under FRE

702. Further, the government is still investigating and producing information. For example,

today Defendants’ learned from the government that certain messages sent on January 6th

regarding the United States Constitution were thought to be from Mr. Rhodes, but the

government disclosed to the defendants, they are from someone unrelated to these Defendants,

and this includes factual allegations that would potentially be significant before an expert on the

constitutional issues. The point is both sides are working hard to have accurate information.

       Moreover, the forensics phone expert is designated and anticipated to also be called for

Mr. Rhodes, Mr. Meggs and potentially Ms. Watkins, but as disclosed, is still working to open

Mr. Meggs’ zip file. Further, his testimony also get limited as a rebuttal witness, but

Defendants, are working in good faith to update the government, so that there would be no
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surprises. Defendants are not prepared to submit a report, at this time because the information

still needs analysis. Defendants are seeking to file a Motion for an Extension of Time for their

Designation.

           The harshness of preclusion of any potential defense experts broadly impacts defendants.

Secondly, these defendants are not submitting a defense of diminished mental capacity,

therefore, there is no anticipated ‘scientific’ opinion that needs foundation for that defense, under

FRE 702, making the Day case distinguishable, so there is no genuine prejudice to the

government by a two-week extension at this time, (which the defendants will seek in a separate

filing).

           WHEREFORE, Defendants, Elmer Stuart Rhodes, Kelly Meggs, Jessica Watkins, jointly

respectfully request that the Court deny ECF 252, and recognize at this time there is no prejudice

to the government, while there would be serious prejudice to the Defendants with such a barring

of all defense experts.




                                             [signature next page]
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                                               Respectfully submitted,


                                               /s/ Stanley Woodward

                                               Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                               Brand Woodward, Attorneys at Law
                                               1808 Park Road NW
                                               Washington, DC 20010
                                               202-996-7447 (telephone)
                                               202-996-0113 (facsimile)
                                               Stanley@BrandWoodwardLaw.com

                                               /s/ Juli Zsuzsa Haller
                                               Juli Zsuzsa Haller, (DC 466921)
                                               The Law Offices of Julia Haller
                                               601 Pennsylvania Avenue, N.W., Suite 900
                                               Washington, DC 20004
                                               Telephone: (202) 729-2201
                                               HallerJulia@outlook.com

                                               Counsel for Defendant Kelly Meggs, with
                                               permission to file this on behalf of Mr. Rhodes and
                                               Ms. Watkins.


                        CERTIFICATE OF ELECTRONIC SERVICE

I hereby certify that on August 19, 2022, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF System, with consequent service on all parties of record.


                                                /s/ Juli Zsuzsa Haller
                                               Juli Zsuzsa Haller, (DC 466921)
                                               The Law Offices of Julia Haller
                                               601 Pennsylvania Avenue, N.W., Suite 900
                                               Washington, DC 20004
                                               Telephone: (202) 729-2201
                                               HallerJulia@outlook.com
